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 4   Telephone: 916-554-2763
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 6
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )          CR. NO. S-07-059-LKK
                                        )
12             Plaintiff,               )          MOTION AND ORDER
                                        )          DISMISSING INDICTMENT
13        v.                            )
                                        )
14   IVY JUNG TRAN,                     )
                                        )
15             Defendant.               )
     ___________________________________)
16
17         The United States of America, by and through its undersigned
18   attorney, Mary L. Grad, Assistant United States Attorney,
19   respectfully requests that this Court dismiss without prejudice
20   the above-captioned Indictment, filed February 22, 2007, against
21   defendant IVY JUNG TRAN.
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
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           Case 2:07-cr-00059-TLN Document 127 Filed 10/14/08 Page 2 of 2


 1        This motion is made pursuant to the provisions of Rule 48(a)
 2   of the Federal Rules of Criminal Procedure
 3
     DATED: October 14, 2008                 McGREGOR W. SCOTT
 4                                           United States Attorney
 5
 6                                           By /s Mary L. Grad
                                               MARY L. GRAD
 7                                           Assistant U.S. Attorney
 8
 9
10                                  O R D E R
11
12        It is ordered that the above-captioned Indictment be and is
13   hereby dismissed without prejudice against IVY JUNG TRAN.
14
15   DATED: October 14, 2008
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